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  13
                           UNITED STATES DISTRICT COURT
  14
                        SOUTHERN DISTRICT OF CALIFORNIA
  15

  16                                         Case No.     3:18-cv-840-GPC-BGS
          IN RE: OUTLAW
  17      LABORATORY, LP LITIGATION          THE STORES’ OPPOSITION TO
                                             TAULER SMITH’S MOTION FOR
  18                                         RECONSIDERATION OF ITS
  19                                         SUMMARY JUDGMENT
                                             MOTION
  20
                                             Date:      Dec. 18, 2020
  21                                         Time:      1:30 p.m.
                                             Court:     2D
  22                                         Judge:     Hon. Gonzalo Curiel
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                                                      STORES’ OPP. TO MOT. TO RECONSIDER
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   1           As noted in the Stores’ pending sanctions motion, “‘[s]anctions under section
   2   1927 are warranted when attorneys file repetitive motions or generate an
   3   extraordinary volume of paperwork in the case.’” ECF No. 301 at 20 (quoting Hartke
   4   v. Westman Prop. Mgmt., Inc., No. 3:15-CV-01901-GPC-DHB, 2016 WL 3286347,
   5   at *5 (S.D. Cal. June 14, 2016) (Curiel, J.) (citing Braunstein v. Ariz. Dept. of Transp.,
   6   683 F.3d 1177, 1189 (9th Cir. 2012)).
   7           Since that warning was set out, Tauler Smith has continued its demonstrated
   8   history of filing “repetitive motions” and generating an “extraordinary volume of
   9   paperwork.” Id.; see ECF No. 301 at 5-8 (inventorying the duplicative and frivolous
  10   motions filed up to that point). Four days after the Stores filed their motion, Tauler
  11   Smith filed this motion seeking “reconsideration” of its summary judgment motion,
  12   which is frivolous for the reasons set forth herein. And then on October 28 it filed a
  13   similarly frivolous motion objecting to Magistrate Skomal’s extremely thorough
  14   order denying Tauler Smith’s motion to re-open discovery. ECF No. 315 (seeking
  15   reconsideration of ECF No. 311). The Stores’ counsel, the Court, and the other
  16   deserving litigants on the Court’s docket should not forever be held hostage to Tauler
  17   Smith’s refusal to take no for an answer.
  18           I.   THERE IS NO BASIS FOR RECONSIDERATION.
  19           Tauler Smith argues by tautology that “Reconsideration Is Warranted Because

  20   Summary Judgment Is Required.” Mem. at 3. Its motion is a textbook example of a

  21   “repetitive motion.” Tauler Smith freely admits that there are no “new and different

  22   facts and circumstances,” that would warrant reconsideration under Local Rule

  23   7.1(i)(1). Mem. at 5 (“There are none here.”). And its motion merely repeats an

  24   argument it already made, cutting and pasting that argument from its summary

  25   judgment brief, describing it as an argument that it “previously pointed out.” Mem.

  26   at 4.

  27           Even assuming that a legal error is a permissible basis for reconsideration,

  28   “[m]otions for reconsideration are disfavored and should be granted only in limited
                                                            STORES’ OPP. TO MOT. TO RECONSIDER
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   1   circumstances, such as when the Court: ‘(1) is presented with newly discovered
   2   evidence, (2) committed clear error or the initial decision was manifestly unjust, or
   3   (3) if there is an intervening change in controlling law.’” United States v. Sanchez-
   4   Gonzalez, No. 11-CR-1758-L, 2011 WL 4043568, at *2 (S.D. Cal. Sept. 12, 2011)
   5   (quoting Nunes v. Ashcroft, 375 F.3d 805, 807 (9th Cir. 2004)).
   6         None of those is shown here. Far from even claiming a “clear error” by the
   7   Court, the current motion is based only on the assertion that “[t]he Court may well
   8   have overlooked [the] dispositive contention by TSLLP” that the language of the
   9   “settlement agreement” by which Skyline Market paid it $2,800 provided that the
  10   settling parties “were not influenced by any statements made by the other parties.”
  11   Mem. at 6. But the Court’s 41-page order (ECF No. 293) is exceedingly thorough,
  12   and goes to great lengths to explain how a reasonable factfinder could conclude that
  13   either (A) the settlement agreement with Skyline Market is void for fraud, id. at 35-
  14   38; or (B) the release language in the settlement agreement does not cover Skyline
  15   Market’s RICO claim. Id. at 38-40. The factfinder’s agreement with the Stores on
  16   either of those issues would permit its RICO claim to go forward.
  17         Nevertheless, Tauler Smith contends that the Court “may well have
  18   overlooked” the part of the settlement agreement where the parties “expressly agreed
  19   that they were not influenced by any statements made by the other parties.” Mem. at
  20   6. This hypothesis is based only on the observation that “the MSJ Order simply does
  21   not mention it.” Id. But Tauler Smith cites no authority under which a court is
  22   required to address every particular argument set forth by a movant.             More
  23   fundamentally, there is no particular purpose in addressing minor arguments that are
  24   wholly obviated by a court’s broader rulings. To wit, the basis for the Court’s finding
  25   on point (A) above was that the jury could find the settlement invalid for fraud based
  26   on “fraudulent nondisclosure.” ECF No. 260 at 35. Under that theory, Skyline
  27   Market’s purported disavowal of reliance on “statements made by the other parties,”
  28   Mem. at 6, is nearly irrelevant.

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   1         Stepping back, Tauler Smith’s fundamental argument about the release is that
   2   so long as a fraudster drafts an ironclad release, releasing it from even the underlying
   3   fraud itself, it can never be held liable. This would be a boon for the types of
   4   fraudsters who wear suits, but it is obviously not the law—the California caselaw
   5   discussed in the opinion describes exactly the types of scenarios where such releases
   6   can be deemed invalid, and the principles by which a reviewing court should evaluate
   7   such arguments. The Court did exactly that, and Tauler Smith provides no persuasive
   8   reason for the Court to change its mind on that analysis.
   9         The cases Tauler Smith cites do not help its argument. For example, it relies
  10   heavily on Wojciechowski v. Latham & Watkins, 2000 WL 540758 (9th Cir. May 3,
  11   2000). Mem. at 1-2. But that unpublished case has zero precedential value, and
  12   because it was decided before 2007, Tauler Smith is not even permitted to cite it. See
  13   Ninth Circuit Rule 36-3(c) (“Unpublished dispositions and orders of this Court issued
  14   before January 1, 2007 may not be cited to the courts of this circuit [except in
  15   inapplicable circumstances]”). It also relies heavily on the 34-year-old opinion of
  16   Brae Transp., Inc. v. Coopers & Lybrand, 790 F.2d 1439 (9th Cir. 1986). Parties
  17   typically aren’t permitted to seek reconsideration based on pre-existing authority that
  18   they failed to cite on the initial motion, Nunes, 375 F.3d at 807, but even if the Court
  19   considers this case, it is readily distinguishable. There, when a settling party later
  20   brought suit to invalidate a release, it admitted in response to requests for admission
  21   propounded in that litigation that it had not relied on any “inducements, promises or
  22   representations” that had been made by the released party outside of the settlement
  23   agreement, which the Ninth Circuit held “resolves the issue.” Brae, 790 F.2d at 1445.
  24   No such facts are present here—Skyline Market’s entire claim is based on Tauler
  25   Smith’s misrepresentations prior to the settlement being signed. The closest fact
  26   Tauler Smith can identify here is that in responding to Tauler Smith’s statement of
  27   facts on its motion for summary judgment, Skyline Market responded that it is
  28   “undisputed” that the release “stated” certain quoted language. Mem. at 7 (citing

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   1   ECF No. 272-1 ¶¶ 31-39). Acknowledging that the release “stated” certain words is
   2   a far different matter from a separate “admission” in the case that the release language
   3   was accurate, as the plaintiff did in Brae.
   4         Although Tauler Smith does not argue the point, the Stores would make one
   5   further point about Brae. There, the Ninth Circuit suggested that a party seeking to
   6   rescind a release based on “alleged intentional nondisclosure” must demonstrate a
   7   “special duty to disclose,” relying on California appellate authority from 1963. 790
   8   F.2d at 1445. But even if that was an accurate statement of California law as of the
   9   1986 Brae opinion, it has been overtaken by subsequent precedent—the 1995 San
  10   Diego Hospice v. County of San Diego opinion analyzed in the summary judgment
  11   order makes no mention of a “special duty” requirement, and federal courts are bound
  12   by the interpretations of California law set out in intermediate appellate authority,
  13   absent a firm belief that the California Supreme Court would hold differently. See
  14   Perez v. Mortg. Elec. Registration Sys., Inc., 959 F.3d 334, 337–38 (9th Cir. 2020)
  15   (“where there is no convincing evidence that the state supreme court would decide
  16   differently, a federal court is obligated to follow the decisions of the state’s
  17   intermediate appellate courts.”) (citations and internal quotations omitted).
  18         II.   TAULER SMITH ARGUES THAT IT WOULD BE MORE
  19               EFFICIENT TO HOLD TWO TRIALS INSTEAD OF ONE.
              Although not a matter of “reconsideration,” Tauler Smith’s brief includes an
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       argument that the Court should first convene an entire trial on the issues surrounding
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       the release, which it says would “expedite and economize” the proceedings. Mem.
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       at 7. Obviously that is a matter of the Court’s discretion, but a separate trial on the
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       release issues would necessarily involve presentation of all of the same evidence,
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       because the jury would still need to hear all about Tauler Smith’s underlying fraud
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       to assess whether the release should be voided for fraud. Suffice it to say, the Stores
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       fail to see how it would be more efficient to hold two trials instead of one.
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   1         III.   THE COURT SHOULD REQUIRE TAULER SMITH TO
                    OBTAIN ADVANCE LEAVE TO FILE FURTHER MOTIONS.
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             The Stores respectfully repeat their request that Tauler Smith be required to
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       obtain leave of court prior to filing additional motions.          See Opp. to Mot. to
   4
       Disqualify at 11-12 (ECF No. 203); Opp. to Mot. for Reconsideration at 4 (ECF No.
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       221). That restriction could of course except certain types of specified motions that
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       will be necessary for trial, such as motions in limine. Mr. Tauler has proudly crowed
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       that he intends to string this litigation out “for the next three years at least,” ECF 300-
   8
       26 at 1 (July 2, 2020 email from R. Tauler to S. Reagan), and by appearances, his
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       counsel are accepting marching orders consistent with that goal. The Court should
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       take proactive steps to avoid that result. See Fed. R. Civ. Proc. 1. Without such a
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       restriction, the Stores anticipate endless frivolous motions from the firm, including
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       the Court’s order on class certification—should it go against Tauler Smith.
  13
                                           CONCLUSION
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             For all of the foregoing reasons, the motion should be denied.
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         Dated: October 30, 2020                      GAW | POE LLP
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  18                                                  By:   s/ Mark Poe
                                                            Mark Poe
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   1                            CERTIFICATE OF SERVICE
   2                            Case No. 3:18-cv-840-GPC-BGS
   3         I HEREBY CERTIFY that on the date stamped in the header above, I filed
   4   the foregoing document with the Clerk of the Court using CM/ECF. I also certify
   5   that the following document is being served this day either by Notice of Electronic
   6   Filing generated by CM/ECF or by U.S. mail on all counsel of record entitled to
   7   receive service.
   8

   9                                                 GAW | POE LLP
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  11                                                 By:   s/ Mark Poe
                                                           Mark Poe
  12                                                       Attorneys for Defendants,
                                                           Counterclaimant, and Third-Party
  13                                                       Plaintiffs
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